              Case 2:14-cr-00044-TLN Document 51 Filed 04/15/14 Page 1 of 4


 1   JAMES R. GREINER, ESQ.
     CALIFORNIA STATE BAR NUMBER 123357
 2
     LAW OFFICES OF JAMES R. GREINER
 3   1024 IRON POINT ROAD
     FOLSOM, CALIFORNIA 95630
 4   TELEPHONE: (916) 357-6701
 5
     FAX: (916) 920-7951
     E mail: jaygreiner@midtown.net
 6
     ATTORNEY FOR DEFENDANT
 7   VALERIY NIKITCHUK
 8

 9

10
                           IN THE UNITED STATES DISTRICT COURT FOR THE
11
                                    EASTERN DISTRICT OF CALIFORNIA
12

13

14
     UNITED STATES OF AMERICA, )                  Case. No. 2:14-cr-00044-MCE
15                                 )
     PLAINTIFF,                    )              STIPULATION BETWEEN THE PARTIES TO
16
                                   )              CONTINUE THE STATUS CONFERENCE TO
17                     v.          )              THURSDAY, JUNE 26, 2014 WITH
                                   )              EXCLUSION OF TIME FROM THE SPEEDY
18   ALEKSANDR KUZMENKO, et al., )                TRIAL ACT AND PROPOSED ORDER
19
                                   )
                                   )
20   DEFENDANTS.                   )
                                   )
21   ______________________________)
22

23
            The parties to this litigation, the United States of America, represented by Assistant
24
     United States Attorney, Michele M. Beckwith, and for the defendants: 1- Kresta N. Dally
25

26   representing Aleksandr Kuzmenko.; 2- Michael L. Chastine representing Petr Kuzmenko.;

27

28




                                                         1
                     Case 2:14-cr-00044-TLN Document 51 Filed 04/15/14 Page 2 of 4


 1   3- Steven B. Plesser representing Arsen Muhtarov; and 4- James R. Greiner representing Valeriy
 2
     Nikitchuk hereby agree and stipulate to the following1:
 3

 4                               1- By previous order, this matter was set for status on Thursday, April 17,

 5   2014, see docket numbers 10, 22 and 42.

 6
                                 2. By this Stipulation, the defendants collectively now move to continue
 7

 8   the status conference until Thursday, June 26, 2014 and to exclude time pursuant to the Speedy

 9   Trial Act between Thursday, April 17, 2014 and Thursday, June 26, 2014, under Local Code T-
10
     4 (time for adequate attorney preparation). The government has produced initial discovery of
11
     more than approximately 15,000 pages in this case and does not oppose this request. In addition,
12
     attorney James R. Greiner, was just appointed to this case on April 3, 2014 and needs time to
13

14   begin to review the facts and discovery and to begin investigation in this case. (See docket entry
15   number 42)
16
                                 3. The parties agree and stipulate to the following and request the Court to
17
     find the following:
18

19                               a. The government has produced initial discovery to date which consists of

20   approximately 15,000 pages.
21
                                 b. Counsel for all defendants need time to begin to review all the
22
     discovery with their respective clients, to conduct investigation into this case, do research, which
23
     includes legal research, in this case, and to otherwise do review and investigation, using due
24

25   diligence, that this case requires.

26
                1
                    The government requested that the format presented in this stipulation be used by the
27
     parties.
28




                                                               2
               Case 2:14-cr-00044-TLN Document 51 Filed 04/15/14 Page 3 of 4


 1                          d. Counsel for all defendants represents that the failure to grant the above
 2
     requested continuance would deny counsel for each individual defendant the reasonable time
 3
     necessary for effective preparation, taking into account the exercise of due diligence.
 4

 5
                            e. The government, based on all of the above, does not object to the

 6   continuance.
 7                          f. Based on the above stated findings, the ends of justice served by
 8
     continuing the case as requested outweigh the interest of the public and all the defendants in a
 9
     trial within the original date prescribed by the Speedy Trial Act.
10

11                          g. For the purpose of computing the time under the Speedy Trial Act, Title

12   18 U.S.C. section 3161, et seq., within which trial must commence, the time period from
13
     Thursday, April 17, 2014 to Thursday, June 26, 2014, inclusive, is deemed excludable pursuant
14
     to Title 18 U.S.C. section 3161(h)(7)(A, (B)(iv) corresponding to Local Code T-4, because it
15
     results from a continuance granted by the Court at defendants’ request on the basis of the Court’s
16

17   finding that the ends of justice served by taking such action outweigh the best interest of the
18   public and all of the defendants in a speedy trial.
19
            4. Nothing in this stipulation and order shall preclude a finding that other provisions of
20
     the Speedy Trial Act dictate that additional time periods are excludable from the period within
21

22   which a trial must commence.

23                          IT IS SO STIPULATED.
24
                            Each attorney has granted James R. Greiner full authority to sign for each
25
     individual attorney.
26

27

28




                                                           3
              Case 2:14-cr-00044-TLN Document 51 Filed 04/15/14 Page 4 of 4


 1         Respectfully submitted:
 2
                                BENJAMIN B. WAGNER
 3                              UNITED STATES ATTORNEY

 4   DATED: 4-9-14              /s/ Michele M. Beckwith
 5
                                _____________________________________
                                Michele M. Beckwith
 6                              ASSISTANT UNITED STATES ATTORNEY
                                ATTORNEY FOR THE PLAINTIFF
 7   DATED: 4-9-14
 8                              /s/ Kresta N. Dally
                                ___________________________________
 9                              Kresta N. Dally
                                Attorney for Defendant
10
                                1- Aleksandr Kuzmenko
11
     DATED: 4-9-14              /s/ Michael L. Chastaine
12                              __________________________________
                                Michael L. Chastaine
13
                                Attorney for Defendant
14                              2- Petr Kuzmenko

15   DATED: 4-9-14              /s/ Steve B. Plesser
                                __________________________________
16
                                Steve B. Plesser
17                              Attorney for Defendant
                                3- Petr Kuzmenko
18

19
     DATED: 4-9-14              /s/ James R. Greiner
                                ________________________________
20                              James R. Greiner
                                Attorney for Defendant
21                              4- Valeriy Nikitchu
22

23                                            ORDER
24
       IT IS SO FOUND AND ORDERED.
25
     Dated: April 14, 2014
26

27

28




                                                 4
